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IN THE UNITED STATES DISTRICT COURT 0 \@N/
FOR THE WESTERN DISTRICT OF TENNESSEE \F`J(/ \c\
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JAMIE HAMILTON, et ux., ) AZ:/‘”///@ 'y§{.
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Plainriffs, ) /.V. `@0/?5/?@
. ¢J<,'r'/\ l_l/` \,
) “@~',/CT/\
v. ) NO. 97-1261 B/An jl"
)
GARY MYERS,-et al., )
)
Defendants. )
and
GARY ARNETT, er ai.,
Plaintiffs,
V- '¢' NO. 98-1263 B/An ""

GARY MYERS, et al.,

Defendants.

 

ORDER SE'I`TING STATUS CONFERENCE

 

IT IS ORDERED that a telephone status conference in this matter should be held before
United States Magistrate .Tudge S. Thornas Anderson on TUESDAY, JUNE 21, 2005 at 10:30
A.M. Counsel for the Defendants Shall initiate the conference call and shall insure that all
counsel of record in both cases 97-1261 and 98-1263 are on the telephone prior to dialing Judge
Anderson’s chambers in Jackson, Tennessee.

The purpose of this telephone conference will be to discuss the status ot"settlement

discussions, whether a ruling on any pending motions would likely aid or hinder the prospects for

Thls document entered on the docket heat in compliance
with Rule 58 and.'or 79 (a) FRCP on to

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settlement, and to establish pre-settlement conference procedures

C_S.’l'h`mr loan

S. TI'IOMAS ANDERSON
UNITED STATES MAGIS”l_"RATE IUDGE

IT IS SO ORDERED.

Date: l L(MLO ,. 2005-

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UNITE`DSTATES DISTRICT OURT- WESETRNDTISRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 205 in
case l:98-CV-01263 Was distributed by faX, mail, or direct printing on
J urie 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

